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UNITED STATES DISTRICT COURT -
CENTRAL DISTRICT OF CALIFORNIA -

CASE SUMMARY

 

 

  

U.S.A. v. Ricardo Pacheco
[_] Indictment

[Y] Information

Defendant Number 1
Year of Birth 1962

Investigative agency (FBI, DEA, etc.) FBI

NOTE: Allitems MUST be completed. If you do not know the answer or a‘question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a, Offense charged as a:
[J Class A Misdemeanor [-] Minor Offense [_] Petty Offense
[_] Class B Misdemeanor [_] Class C Misdemeanor w Felony
b. Date of Offense October 17, 2018

c. County in which first offense occurred

Los Angeles County

“d. The crimes charged are alleged to have been committed i in’
(CHECK ALL THAT APPLY):

[v] Los Angeles
|] Orange

|_| Riverside

a San Bernardino

[-] Ventura —

[_] Santa Barbara
[_] San Luis Obispo .
EC] Other

Citation of Offense

 

 

e, Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:.

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[| Eastern (Riverside and San Bernardino) [_] Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [] Yes

If "Yes," Case Number:

 

Pursuant to General Order 19-03, criminal cases may be related
if a previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or .

b. involve one or more defendants in common, and would
‘entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s 3), if any (MUST MATCH NOTICE OF RELATED ©
CASE):

 

 

CR-72 (03/19)

. Charging:

“1S THIS A NEW-DEFENDANT?

CASE SUMMARY

PREVIOUSLY FILED COMPLAINT/CVB CITATION.
A complaint/CVB citation was previously filed on: N/A

C3

Case Number: _ ~<

Assigned Judge:

 

  

 

[_] is still pending

Z|

The complaint/CVB citation;
"

[_] was dismissed on: |

  

 

 

PREVIOUS COUNSEL =...
Was defendant previously represented? [-] No Yes
IF YES, provide Name: Glen Jonas .
Phone Number: 213-683-2033
COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?
L Yes* [¥] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

LE] Yes* No
*AN ORIGINAL AND.1 COPY (UNLESS ELECTRONICALLY FILED)

OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS'FILED IF EITHER "YES" BOX IS

. CHECKED,

SUPERSEDING INDICTMENT/INFORMATION
[_] Yes No

This is the superseding charge (ie., Ist, 2nd).

. The superseding case was previously filed on:

 

Case Number

 

The superseded case:
L Is still pending before Judge/Magistrate Judge |

 

[-] was previously dismissed on

 

Are there 8 or more defendants in the superseding case?

[_] Yes* [¥] No
Will more than 12 days be required to present. government's
evidence in the case-in-chief?

‘L] Yes* . [YJ No

"Was a Notice of Complex Case filed ¢ onthe Indictment or

Information?

[_] Yes [¥] No
*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT iS
FILED IF EITHER "YES" BOX IS CHECKED.
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA -

CASE SUMMARY

INTERPRETER
Is an interpreter required? — ["] YES NO
IF YES, list language and/or dialect: ,

 

OTHER 7
Male 7] Female
[-] U.S. Citizen [[] Alien

Alias Name(s)

 

 

This defendant is charged.in:
All counts °

Cy Only counts:

 

[_] This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

{J This defendant is designated as "Special Case" per
18 USC §-3166(b)(7).

Is defendant a juvenile? [| Yes [] No .
‘IF YES, should matter be sealed? [_] Yes [_] No

The area(s) of substantive law that will be involved in this case
include(s):

 

 

‘CUSTODY STATUS

Defendant is notin custody:
- a, Date and time of arrest on complaint: N/A

b. Posted bond at complaint level on:
in the amount of $°

‘c.PSA supervision? . [] Yes [_]No -
d. ls on bail or release from another district: -

 

 

Defendant is in custody:
a. Place of incarceration: [7] State [_] Federal

b. Name of Institution:
c. If Federal, U.S. Marshals Service Registration Number:

 

 

d.[_] Solely on this charge. Date and time of arrest:

 

~ e, Onanother conviction: []Yes . ["] No
IFYEs: [] State, [-] Federal — [_] Writ of Issue
f. Awaiting trial on othercharges: [_] Yes [_] No .
IFYES: [] State ["] Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district

 

 

 

[_] financial institution fraud public corruption

[-] government fraud [_] tax offenses pursuant to F.R.CrP. ___ 70 _ 41 40
[_] environmental issues — E] mail/wire fraud

[_] narcotics offenses [_] immigration offenses

L] violent crimes/firearms [_] corporate fraud |

._] Other

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

 

Date 03/26/2020 :

CR-72 (03/19)

Loy a
Signature of Assistant U.S, Attorney

Thomas Rybarczyk
Print Name |

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